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Dear Judge Sanchez,

       Over the past several years, I have had the privilege of working closely with Oren
in the real estate industry. During this time, I have witnessed his personal and
professional growth. He became engaged, then married, started a family, and launched
a national company—all while growing as an individual. It was evident Oren was striving
to be the best husband, brother, son, colleague, and leader he could be.

         In my professional experience as a woman working alongside Oren, I can
confidently say he treated me with respect and professionalism. I was proud to be
affiliated with his organization. Not only did he support my own career development but
also ensured I had the guidance and support I needed to succeed. We frequently
collaborated on clients and listings, and he consistently valued my input and advice,
demonstrating respect for my expertise despite the significant difference in our
experience levels and his position as my superior. He made a point to include me in
work events, fostering trust, a sense of community and belonging for me.

       In the past year, Oren has also demonstrated his commitment to giving back to
the community by organizing a charity event to raise funds for a cause he is passionate
about. He spent his free time in the company of his family and close friends. His
professional time was split between building his company, building his team, running
new development projects, building new homes, all while remaining at the top of his
career. He achieved a lot of success at a young age which was admirable to some but
also envied by others.

      This letter serves as a formal declaration of my professional experience with
Oren. Due to the severity of the media attention surrounding this case, I request to
remain anonymous in order to safeguard my well-being.

Thank you.
